                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 08-CR-190

     v.

FELIX ALVAREZ, et. al.,

            Defendants.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       The court has received a recommendation from Magistrate Judge Aaron Goodstein that the

defendant, Felix Alvarez’s (Alvarez) motion to dismiss the indictment in the above-captioned case

be denied. The court agrees with this recommendation.

       Therefore, IT IS HEREBY ORDERED that Alvarez’s motion to dismiss the indictment is

DENIED.

       Dated at Milwaukee, Wisconsin, this 22nd day of July 2009.

                                            SO ORDERED,



                                            s/ Rudolph T. Randa
                                            HONORABLE RUDOLPH T. RANDA
                                            Chief Judge




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